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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

SHANADOLYN JOHNSON AND                           §
BRIAN A. BREWER - TRUSTEE                        §
                                                 §
v.                                               §      CIVIL ACTION NO. 4:18-CV-01284
                                                 §
WILMINGTON SAVINGS FUND                          §
SOCIETY, FSB                                     §

______________________________________________________________________________

                   PLAINTIFFS’ DESIGNATION OF EXPERTS
______________________________________________________________________________

           Plaintiffs Shanadolyn Johnson and Brian A. Brewer - Trustee hereby designates the
following individual as an expert witness who may be called to testify at the time of trial of this
matter pursuant to Federal Rule of Civil Procedure 26(a)(2):


1.         Identity of the expert witness:
                  Robert C. Vilt - JD, CPA
                  Vilt and Associates, P.C.
                  5177 Richmond Avenue, Suite 1142
                  Houston, Texas 77056
                  Telephone:     713.840.7570
                  Facsimile:     713.877.1827
                  Email:         clay@viltlaw.com

2.         Subject matter of expert testimony:

       Mr. Vilt will provide testimony concerning the reasonableness of the attorneys’ fees
incurred by the Plaintiff to prepare and prosecute the instant lawsuit as well as in opposition to
any legal fees claimed by the Defendant. Enclosed herewith is a copy of Mr. Vilt’s current
resume.

           Plaintiffs designate any and all expert witnesses that have been designated by other
parties.
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        Plaintiffs reserve the right to elicit any expert opinion or lay opinion testimony from any
of the individuals previously identified by any other party as persons with knowledge of facts
relevant to this proceeding, which testimony would be truthful, would be of benefit to the court
and/or the jury determining the factual issues in this lawsuit, and which would not violate any
existing Court order, the Federal Rules of Civil Procedure, or the Federal Rules of Evidence.

        Plaintiffs also reserve the right to call as an expert witness any of the expert witnesses
designated by any other party in this case. Plaintiffs further reserve the right to supplement this
designation with additional designations of experts within the time limits imposed by the Court
or any alternations of same by subsequent Court order or agreement of the parties, or pursuant to
the Federal Rules of Civil Procedure and/or the Federal Rules of Evidence.

        Plaintiffs reserve the right to withdraw the designation of any expert and to aver
that any such previously designated expert will not be called as a witness at trial, and to
redesignate same as a consulting expert, who cannot be called by opposing counsel.




                                                      Respectfully submitted,

                                                              VILT AND ASSOCIATES, P.C.

                                                      By:    /s/ Robert C. Vilt
                                                            Robert C. Vilt
                                                            Texas Bar No. 00788586
                                                            S.D. Bar No. 20296
                                                            Email: clay@viltlaw.com
                                                      5177 Richmond Avenue, Suite 1142
                                                      Houston, TX 77056
                                                      Telephone:    713.840.7570
                                                      Facsimile:    713.877.1827
                                                      ATTORNEYS FOR PLAINTIFFS
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record on this the 14th day of September, 2018.

       Michael F. Hord Jr.
       Eric C. Mettenbrink
       Hirsch & Westheimer, P.C.
       1415 Louisiana, 36th Floor
       Houston, TX 77002

                                      /s/ Robert C. Vilt
                                      ROBERT C. VILT
